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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

JUSTIN COFFEY,                               §
                                             §
       Plaintiff,                            §
                                             §
                                             §
                                             §     CIVIL ACTION NO. 4:17-cv-0040
SUN LIFE ASSURANCE                           §
COMPANY OF CANADA,                           §
                                             §
       Defendant.                            §

                              STIPULATION OF DISMISSAL

       Plaintiff Justin Coffey announces to the Court that the matters in controversy

herein have been settled and that the consideration therefore has been paid in full and

received. In accordance with the Settlement Agreement and Release executed by the

parties, the parties stipulate as follows:

       1.      That all claims, demands, debts, or causes of action asserted herein by and

between Plaintiff and Defendant be DISMISSED WITH PREJUDICE; and

       2.      That all attorneys’ fees and costs be taxed against the party incurring them.


                                             STIPULATED TO AND APPROVED BY:

                                             MARC WHITEHEAD & ASSOCIATES, LLP

                                             By: s/ Marc Whitehead
                                                    Marc S. Whitehead
                                                    State Bar No. 00785238
                                                    S.D. No. 15465
                                                    5300 Memorial Drive, Suite 725
                                                    Houston, Texas 77007
                                                    Telephone: 713-228-8888
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                                 CERTIFICATE OF SERVICE

             I hereby certify that on May 19, 2017 I electronically transmitted the

foregoing STIPULATION OF DISMISSAL to the Clerk’s office using the Court’s CM/ECF

System, and thereby served all counsel of record in this matter.



                                                        s/ Marc Whitehead
                                                            Marc S. Whitehead
